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Law Enforcement Division
PO Box 12548 ——>
; Austin, TX 78711
Title Sgt. Don Smith - Supplementai Report
Reported 94/20/2023 12:26 Friday

INTRODUCTION

3.0. On December 15, 2022, I, Sergeant (Sgt.) Don Smith, with the Texas Office of the Attorney
General (TX OAG) filed captioned investigation with the Guadalupe County Attorney's Office located
at 211 W Court St, Seguin, TX 78155. Specifically, { met with First Assistant County Attorney, James
Wheat, and presented him with both the physical and digital case file which included the
investigative report and corresponding exhibits.

INVESTIGATIVE NOTES

3.07. On January 3, 2023, Robin Villarreal, a paralegal with the Guadalupe County Attorney's Office,
contacted me by phone and requested basic identifiers for Lisa Hayes. Villareal stated that she
needed identifiers to include Date of Birth, address, and/or Texas driver's license information. |
advised Villareal that | would obtain those identifiers and contact her at a later time to provide them.
Villareal provided me with an email which listed her contact information.

3.02. On the same date, | submitted an analyst request form to Criminal Intelligence Analyst (IA), Keri
Kagawa. in the request, | acknowledged that ! only needed Hayes’ driver's license information to
ensure that | had the correct identifiers to provide to the Guadalupe County Attorney's Office.

3.03. IA Kagawa provided me with Hayes’ identifiers directly from her Texas driver's license (EXHIBIT
3.1). i sent Villareal an email to provide the Guadalupe County Attorney's Office with Hayes'
identifiers.

3.04. On January 13, 2023, | was contacted by Guadalupe County Attorney Wheat. Wheat sent met an
email which stated that their office had declined charges against Hayes. Attached to the emaif was
an official letterhead from his office formaily declining charges signed by County Attorney Wheat.
This letter will be added as (EXHIBIT 3.2).

CONCLUSION

3.05. | presented captioned investigation to the Guadalupe County Attorney's Office on December 15,
2022. | briefed County Attorney Wheat on the investigation and provided him with the digital and
physical case file. On January 13, 2023, County Attorney Wheat advised me via email that their office
was declining charges against Hayes. As a result of the declination by the Guadalupe County
Attorney's Office, | will be submitting this investigation for closure.

LIST OF EXHIBITS:

EXHIBIT 3.1. Hayes, Lisa Beth - DLIR 01032023

EXHIBIT 3.2. Hayes Declination Letter

Officer ID Agency Reviewed By Date
Donald Smith, Sgt. DHS3 Eleazar Garcia, Lt. 01/30/2023

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Title Sgt. Don Smith - Supplemental Report
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heat. Wheat and | agreed to meet on December 15, 2022, at the Guadalupe County Attorney's Office
located at 211 W. Court St. Seguin, Texas 78155. | will be presenting captioned investigation for
review to Wheat on that date and time.

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CONCLUSION:

2.18. { will be filing this case for review to the Guadalupe County Attorney's Office to determine if
there is probable cause to charge Hayes with Section 33.067 of the Texas Election Code: Uniawfully
Obstructing a Watcher. [Ij alleged that Hayes committed this offense by knowingly preventing
him from observing election supplies be secured from other polling locations to the Seguin
Elections Office on February 25, 2022. Further, alleged that Hayes committed this offense
again by denying him the opportunity to observe the early vote tapes on March 8, 2022. Based on
interviews with Hayes and Doss respectively, Hayes believed on interpretation of the Texas Election
Code, that she did not commit an offense because Is appointment as poil watcher on February
25, 2022, was not applicabie to all other polling locations. Further, Hayes believed that she was not
in violation of the Texas Election Code on March 8, 2022, because was requesting early vote
tapes on central counting day; Hayes contacted the Texas Secretary of State's Office for guidance
on the matter and was told that she did not have to present the tapes to because early voting
activities were no fonger taking place.

LIST OF EXHIBITS:

Exhibit 2.1: Audio Recording with Missy Doss

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2.9. Doss stated that she is familiar with the poll watcher whom | was referencing and identified him
as Doss stated that I wanted to see the results of the election at the end of early
voting. Doss Stated that it is ilegal for them to give information on who is winning before election
day. Doss stated that would quote the section of the Election Code that stated he could have
access; however, Doss stated that he was wrong. Doss has not had a /ot of face-to-face encounters
with TE Doss stated that poll watchers are supposed to direct their questions to the early voting
judge, which is Hayes.

2.10. Doss stated that jis a very angry person and has made insinuations that he would take
Hayes' job in the future. Doss stated that she was never present when as asked to leave.
Doss was likely doing tabulations at the time.

2.11. Doss stated that Hayes is the first EA that she can recall who called the state whenever she
needed guidance. Hayes does not take it upon herself to make decisions on how to interpret the
Election Code when there is a question.

2.12. Doss stated that early voting for the March 1, 2022, Primary Election would have been from
February 14th through the 25th. Doss stated that she was at the office on February 25, 2022. Hayes
and [EB were having a conversation on that date, but she was not necessarily within hearing
distance of the conversation and did not take it upon herself to eavesdrop. Doss stated that Hayes
wanted to call the state during that encounter, but it was after hours and there was no one there to
take her call. Hayes contacted the EA from Williamson County for guidance on assisting [with
paperwork. The guidance that Hayes received was to help with his paperwork if she could.
Doss stated that Himay have had the wrong paperwork for the appointment of a poll watcher.

2.13. | asked Doss if she recalled a conversation between Hayes and BM about him wanting to stay
and watch the equipment from other sites be secured. Doss stated she was not present for that
conversation; however, Hayes Jater informed her that I paperwork was to observe early voting
and it was no longer early voting which had ended at 7:00 PM. Doss recalled tha@j left angry
because he could not stay. Doss stated that they were not fouching ballots or tabuiating; they were
just moving the equipment to the warehouse which did not constitute early voting or central
counting activities. Doss reiterated that she was not standing there during the conversation. Most of
what Doss knows was relayed to her after the fact by Hayes.

2.14. | asked Doss about the incident on March 8, 2022. Doss stated that March 8th would have been
the ballot board meeting and she would have been tabulating on that day. Doss did not have any
knowledge of [asking to see any election materials on that date.

2.15. Doss stated that on one election, an individual was calling Hayes very upset and threatening to
have her arrested. Doss does not know who it was that was calling, but she believed that it was

Doss stated that seeks their demise for some reason. Doss cannot recall ever having
any encounter with prior to the March 1, 2022, Primary Election.

2.16. Sgt. Forister and myself concluded the interview with Doss and advised that | would contact her
should I have any further questions.

2.17. On December 12, 2022, | was contacted by Guadalupe County First Assistant Attorney, James

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[Tile Sgt. Don Smith - Supplemental Report

Incident #

CX1078159982

Reported 42/44/2022 07:16 Wednesday

INTRODUCTION:

2.0. On October 14, 2022, I, Sergeant (Sgt.) Don Smith with the Texas Office of the Attorney General
(TX OAG) was contacted by Lieutenant (Lt.) Eli Garcia. Lt Garcia advised that investigation
CX10781599382 involving a poll watcher complaint out of Guadalupe County was going to be
assigned to me. | had previously assisted Lt. Garcia on an interview of Guadalupe County Elections
Administrator (EA) Lisa Hayes. Lt. Garcia stated that another interview needed to be conducted at
this time and that the case needed to be presented to the Guadalupe County Attorney's Office.

INVESTIGATIVE DETAILS:

2.17. On October 28, 2022, | reviewed Lt. Garcia's report and identified the individual who still needed
to be interviewed in this investigation as Hayes‘ Assistant EA, Missy Doss. Lt. Garcia documented in
his report that Doss may have been present during a conversation between Hayes and

on February 25, 2022.

2.2. On November 14, 2022, | contacted the Seguin Elections Office at (830) 303-6363 and requested
to speak with Doss. | was advised that Doss was at lunch. | left a message for Doss to calif me back
regarding scheduling a time to meet with her.

2.3. On the same date, Doss contacted me by phone. | explained to Doss that | was requesting an
interview regarding an investigation in which she may have been a witness to conversations
between the complainant and Hayes. Doss stated that she was available. Doss and !| agreed to meet
on November 18, 2022, at 9:00 AM at her office located at 215 S. Milam St, Seguin, Texas 78155.

2.4. On November 16, 2022, Lt. Garcia advised that | coordinate with Sgt. Todd Forister to assist on
the interview. | contacted Sgt. Forister and confirmed his availability for the interview on November
78, 2022, with Doss.

2.5. On November 18, 2022, Sgt. Forister and myself interviewed Doss at the Seguin Elections Office
located at 215 S. Milam St, Seguin, Texas 78155. The interview was audio recorded (EXHIBIT 2.1).

2.6. Below are the results of the interview with Doss on November 18, 2022. This is my best
interpretation of what Doss stated after listening to the recording. The recording should be reviewed
for the verbatim account of the interview.

2.7. | began the interview by explaining that Sgt. Forister and myself were there to follow up on an
investigation regarding a complaint against Lisa Hayes made by a poll watcher. | explained that the
poll watcher made two allegations against Hayes. The first allegation was that the poll watcher
stated that he was told fo leave on the last day of early voting when he had requested to stay on site
to watch the equipment be secured. The second allegation was that the poll watcher had asked to
see election materials on March 8, 2022, but was denied.

2.8. | began the interview by asking Doss what her role is at the Seguin Elections Office and how long
she has been at the office. Doss stated that she has been at that job for 22 years, with 17 of those
serving as the Assistant EA. Doss stated that she does the tabulations.

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In the email, Hayes did not address if she had a copy of i: certificate of
appointment dated 03/01/2022 but she did mention that she was unable to locate
the certificate of appointment dated 03/08/2022.

1.58 On 10/18/2022, this case was reassigned to Sgt. Donald Smith.
List of Exhibits

EXHIBIT 1: Request to Investigate

EXHIBIT 2: Incident Report # 22-02803 ~- Sgt. Robert E. Murphy, Guadalupe County
Sheriff Office

EXHIBIT 3: Supplement Report # 22-02802 - Sgt. Russell Koehler, Guadalupe
County Sheriff Office

EXHIBIT 4: Texas Online Poll Watcher Training Certificate of Completion
EXHIBIT 5: Complaint

EXHIBIT 6: Handwritten notes

EXHIBIT 7: Written Request for Inspection of Election Records and Copies of
Audit Logs - Appendix 1

EXHIBIT 8: Email from Christina Adkins to
EXHIBIT 9: Email from to Christina Adkins - Appendix 3
EXHIBIT 10: Email from to Christina Adkins - Appendix 4
EXHIBIT 11: Email from Charles Pinney to - Appendix 5
EXHIBIT 12: Texas Election Code Statutes - Appendix (no number designation)
EXHIBIT 13: Preservation Request - Guadalupe County Election Administrator
EXHIBIT 14: Guadalupe County S.0O. recorded interview with

EXHIBIT 15: Recorded interview with Sgt. Russell Koehler

EXHIBIT 16: Recorded interview with
EXHIBIT 17: Poll watcher notes (Milam St) dated 02/25/2022

EXHIBIT 18: Poll watcher notes (Ballot Board) dated 03/08/2022
EXHIBIT 19: Poll watcher notes (Morning and Mid-day) dated 03/01/2022
EXHIBIT 20: Poll watcher netes (Ballot Board) Duplicated 03/01/2022
EXHIBIT 21: Voting Equipment Display Screen Counts 03/01/2022

EXHIBIT 22: Poll watcher notes (Election and Mid-day} 03/01/2022
EXHIBIT 23: Appendix - Election Code

EXHIBIT 24: Certificate of Appointment ia - Early Voting
EXHIBIT 25: Interview with Lisa Hayes

EXHIBIT 26: Certificate of Appointment 9RJ- Election Day

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gave him authority to remain at the election office while early voting
activities were taking place, and once those activities were complete, his
certificate of appointment was no longer valid. Hayes stated that

ultimately left the election office without incident after he was told he could
not stay any longer. I then asked Hayes if there had been any witnesses to her
interaction with JBBBJ. Hayes informed me that her assistant election
administrator, Missy Doss, may have overheard her conversation with i.

1.54 I then informed Hayes of the second allegation made by J. I explained
to her that ME reported he served as a poll watcher on 03/08/2022 at the
election office during Central Count activities. TEEJclaimed that on that
day he presented her with a document titled "Written Request for Inspection of
Election Records and Copies of Audit Logs", which he signed and dated
03/08/2022 (See EXHIBIT 7). The document served as Ms request to view the
early vote tapes. Hayes confirmed that 9 was present at the election
office on 03/08/2022, and that she did receive the document from him. Hayes
explained that the early vote tapes that HE was requesting to view were
printed out on the last day of early voting, 02/25/2022. Hayes stated that

as present at the election office on that day and did not request to
view the tapes. She said the early vote tapes, along with all the other
election records from that night, had already been secured and stowed away.

She stated that when WE presented her with his request early voting
activities were no longer taking place at the election office and Central Count
activities were in progress. Hayes stated that in order to fulfill Js
request she would have had to stop Central Count activities to locate and
retrieve the tapes he wanted to see which would have interrupted and delayed
operations. Hayes informed me that she contacted the Texas Secretary of
State's Office for guidance on the matter and was told that she did not have to
present the tapes to 9jbecause early voting activities were no longer
taking place. Hayes said she relayed the information provided by the Texas
Secretary of State to Jjand he seemed upset that his request was not going
to be fulfilled. I asked Hayes if she instructed to leave Central Count
after the incident. Hayes said she never eee leave, and she
believed IJ left on his own free will sometime after their interaction
occurred. After hearing Hayes' response to Js allegations, I felt that no
further explanation was needed from her.

1.55 I concluded the interview at approximately 8:58 AM.
1.56 On 09/09/2022, IT emailed Lisa Hayes and requested that she provide me with
copies of the Certificates of Appointment of Poll Watcher that she had on file

for NM for the following dates:

02/25/2022
03/01/2022 (See EXHIBIT 24)
03/08/2022

1.57 Later that day, I received an email from Lisa Hayes containing a copy of the
following Certificate of Appointment for [:

Certificate of Appointment of Poll Watcher by a Candidate dated 02/25/2022
{ExXETRIT 26)

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1.51 I advised Hayes that JJ made two allegations against her. The first
allegation reportedly occurred on the last day of early voting, 02/25/2022. I
explained to her that Jjfclaimed she did not allow him to remain at the
election office passed closing time to witness the voting equipment being
returned to the office from the outlying voting sites and observe it being
secured into what he referred to as a "cage". I told her that m7 claimed he
informed her that it was his intention to remain at the location to view these
activities, but that she had informed him he would have to leave once the
office was closed for early voting. Hayes confirmed that the election
equipment was secured in a cage at the end of the night and added that the
Texas Election Code also required voted ballots to be placed in the cage and
put under video surveillance. She went on to explain that voting equipment
with USB sticks still intact ceunted as voted ballots and were also secured in
the same manner.

1.52 After confirming that the voting equipment was properly secured, I asked
Hayes if she was familiar with the statute in the Texas Election Code (Chapter
33, Section 33.053 - Hours of Service at Early Voting Place) that allowed for
poll watchers present during early voting to remain at the location until
completion of the securing of the voting equipment at the close of voting each
day. Hayes acknowledged that she was aware of the statute and added that a
was poll watching at the Guadalupe County Election Office which was designate
as the main early voting location. Hayes verified that Jtold her he
wanted to remain at the location until all the other early voting sites
returned their supplies to the election office but stated that J's
Certificate of Appointment of Poll Watcher only entitled him to observe
activity taking place at that location and was limited to only observing the
equipment used there be secured. She stated that it did not allow him to
remain at the location to observe equipment being returned from outlying
polling sites. Hayes explained that the delivery of the voting supplies from
outlying sites was considered a separate activity and E—Jwould have had to
have been appointed as a poll watcher at each of those sites to be entitled to
follow the equipment from those sites to the election office and observe it
being secured. Hayes also pointed out that 9 never informed her that he
wanted to observe the equipment being used there (election office) be secured
at the end of the night but confirmed that he remained there to do so.

1.53 Hayes stated she had a discussion with a on the matter and referred to
the statutes in the Texas Election Code and to the Poll Watcher Handbook for
guidance on how to handle it. She said she also attempted to contact the
Texas Secretary of State's Office to inquire on the matter, but it was after
5:00 PM when she called and the office was closed. Hayes verified that she
made her decision to not allow IJ to remain at the location until all the
equipment was returned based on her interpretation of the Texas Election Code.
Hayes went on to clarify that only ballots and supplies from the outlying
sites were returned to the election office at the end of the night and the
actual voting equipment remained at their respective locations until it was
picked up the following day. Hayes explained that once early voting was over
and ali activities associated with early voting were complete, the election

office was no longer considered an early voting station and transitioned to

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1.45 In addition to EXHIBITS 17 - 24, BE aiso provided several documents
related to the election that he kept as records. I reviewed those documents
and determined that they did not directly impact the allegations made
against Hayes. The documents were recorded onto a disk and placed into the
case file.

1.46 On 09/07/2022, at approximately 8:32 AM, Sgt. Donald Smith and I met with
Guadalupe County Election Administrator Lisa Hayes at her office in Sequin to
discuss the allegations made against her by ee. Present during the
interview were Hayes, Sgt. Smith and I. I used a digital recorder to record
the interview and held a copy of the recording as evidence (EXHIBIT 25).

1.47 I informed Hayes that we were here to discuss the allegations made against
her by a. Hayes nodded her head up and down indicating to me that
she understood the reason for the interview. I informed her that she was not
under arrest and that she was under no obligation to speak to us. I also
emphasized to her that if she did choose to speak to us and later changed her
mind, she could stop the interview at any time. I then asked Hayes if she
wanted to continue. Hayes acknowledged that she understood and stated that she
was willing to speak to Sgt. Smith and I.

1.48 I explained to Hayes that js complaint revolved around the March 1,
2022, Guadalupe County Primary Election. I asked Hayes if she was serving as
the Election Administrator during that election. Hayes confirmed that she was
and stated that she has been the election administrator in Guadalupe County
since 2015.

1.49 I then asked Hayes to confirm which voting system Guadalupe County used for
their elections. Hayes informed me Guadalupe County used the ES&S voting
systems. She added that ES&S provided the encrypted USB drives used by the
system and that the county purchased their security seals and other election
related supplies from INTAB [Election Supplies] located in Morrisville, NC.

1.50 I continued the interview by asking Hayes if she knew a... Lf
so, how long she had known him. Hayes acknowledged that she knew , but
only in his capacity as a poll watcher. She stated that as a poll
watcher during early voting and on election day for the March 1, 2022,
Guadalupe County Primary Election. Hayes stated that she also recalled

being a poll watcher during the early voting period for an election held in
November 2021. I asked Hayes if JJ had presented her with the required
documents to participate as a poll watcher during the March 1, 2022, election.
Hayes confirmed that MM Provided her with a copy of his Poll Watcher
Training Certificate and copies of his Certificates of Appointment of Poll
Watcher by Candidate for the days that he served. Hayes stated that a new poll
watcher form was introduced during this election which required the poll
watcher to affirm to an oath. She said Jpresented her with an outdated
version of the poll watcher form on 02/25/2022 when he arrived to poll watch
during the early voting period. Hayes said she provided him with a current
version of the form and had him sign it. She said she attached that form to
the outdated one and retained it for her records.

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I mentioned that the wording on the request specified that he HJ was
requesting to inspect the early vote tape records prepared and/or processed at
the central counting station and that he signed the request as the central
counting station watcher making the request. I then asked J who he had
given the request to. [RR) confirmed that he personally handed the request to
Lisa Hayes. I asked a why he wanted to see the early vote tapes.

told me that he wanted to compare the total number of votes printed on the
early voting tapes to the total number of votes recorded on the actual
machines. I confirmed with that the tapes he was requesting to see were
the tapes that would have been produced on the last day of early voting on
02/25/2022. [ERM) confirmed that the timeline was correct. [EJ reiterated
and explained that Hayes refused to provide him with a copy of the tapes
because at the time he handed her his request the Early Voting Ballot Board
({(EVBB) was in session and his request was considered a Central Count activity.
He stated that the EVBB was scheduled to end around 1 PM at which time Central
Count activities would begin. QR—Mstated he waited until Central Count
activities began before presenting Hayes with his request, but Hayes still
refused to provide him with copies of the tapes and told him he would have to
submit an open records request for them. ma informed me that Hayes had been
in communication with the Texas Secretary of State's (SOS) Office during that
time and she had been told by the SOS that she was not required to fulfill his
request at that time. a v3: adamant that he was entitled to view the tapes
because the tapes were considered election records, and as poll watcher taking
part in poll watcher activities, he was entitled to view any and all records
produced during an election. It was apparent to me that ME placed a lot of
value on the tapes, so I asked him if he submitted an open records request to
view them. ia stated that he never submitted an open records request for
the tapes. I then asked if he was forced to leave central count after
his interaction with Taye stated that he was not forced to leave
Central Count and left Central Count on his own accord.

1.43 At the end of the interview, I requested that 9 provide me copies of his
poll watcher Certificates of Appointment for the dates of 02/25/2022 and
03/08/2022 along with copies of the poll watcher notes he took on those dates.
GM asreea to email me the documents and told me that I would be receiving
them by the end of the day. The interview concluded at 12:18 PM.

1.44 on 08/24/2022, I received an email fron containing the

following documents:

EXHIBIT 17: Poll watcher notes (Milam St) dated 02/25/2022

EXHIBIT 18: Poll watcher notes (Ballot Board) dated 03/08/2022

EXHIBIT 19: Poll watcher notes (Morning and Mid-Day} dated 03/01/2022
EXHIBIT 20: Poll watcher notes (Ballot Board) 03/01/2022

EXHIBIT 21: Voting Equipment Display Counts dated 03/01/2022

EXHIBIT 22: Poll watcher notes (Election Day - Mid-day notes) 03/01/2022
EXHIBIT 23: Appendix - Election Code (duplicate -see EXHIBIT 12)

EXHIBIT 24; Certificate of Appointment of Poll Watcher by a Candidate dated
03/01/2022

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the following timeline directly from them:
5:36 PM - BE entered Central Count

5:44 PM - Hayes asked it he would be poll watching until 7 PM.

6:02 PM - GE vequested to view the "zero" tape from the voting equipment
located at Central Count. RE confirmed that Hayes provided him with a copy
of the "zero" tape that nig

6:27 PM - Hayes approached and told him that she did not believe that he
was allowed to stay passed 7 PM.

7:44 PM - Hayes approached a and told him the election code allowed for him
to be present during early voting, but early voting was complete, and he had to
leave. Hayes explained to Jthat he would have to be appointed at every
other polling location in the county in order to stay there and wait for the
chain of custody and the equipment to arrive. [JE said he pulled out a copy
of the election code to dispute what Hayes had to say but admitted to leaving
shortly thereafter because he did not want to cause a scene and be arrested.

1.40 After listening to JJ read from his notes, I pointed out to him that he
hever mentioned that he requested to view the early vote tapes. I asked a
if it was possible that he intended to ask for the tapes but forgot to do so.
MEME acknowledged that it was a possibility.

1.41 TI informed QR that I was also aware of the incident he reported on
03/08/2022. I told §Mthat in addition to a copy of the sheriff's office
incident report, I also received a copy of a complaint dated 03/08/2022 (See
Exhibit 5). I handed JJ a copy of the complaint and asked him if he had
seen it before. [Ij confirmed that it was a copy of a complaint form he
created to document an incident that happened at Central Count. In his
complaint, EMMI indicated that at approximately 1:31 PM, he was serving as a
poll watcher at the Guadalupe County Central Count, located at 215 S. Milan St,
Seguin, TX 78155, when he presented Lisa Hayes with a request to view the early
vote tapes. HE claimed that Hayes refused to provide him with a copy of the
tapes because according to Hayes, the function (early voting) that he wanted to
see was not taking place at the time. [said Hayes told him he would need
to submit an open records request to view the tapes.

1.42 A copy of ae : written request to inspect the early vote tapes was
provided to the Texas Attorney General's Office in the documents received from
the sheriff's office. The request was titled "Written Request for Inspection
of Election Records and Copies of Audit Logs" and was dated 03/08/2022 (See
Exhibit 7). I handed Ja copy of the request and allowed him to examine
it. WENN vericica that the request I handed him was a copy of the request he
presented to Lisa Hayes. I pointed out to BM that the request was addressed
to the presiding judge of Central Counting Station in Guadalupe County, but the
request did not identify who the judge was. I pointed out that the request had
a Space for the presiding judge receiving it to sign, but there was no

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would have to be forwarded to the Texas Secretary of State's Office for
investigation. was adamant that the issues presented a basis for his
claim that he was obstructed by the election staff because, according to

s interpretation of the statute, if an election official did not want him
to see what was taking place, then the official was essentially obstructing him
from his ability to poll watch. JI found that by J being able to relay
detailed information on what he observed during those instances, his claim that
he was obstructed was unfounded.

1. 36 proceeded to inform me of two incidents that occurred on the evening
ef the last day of early voting, 02/25/2022. [ER—J[claimed that on that day,
Guadalupe County Election Administrator Lisa Hayes refused to allow him to view
the early vote tapes taken from the voting machines that had been returned to
central count. BE 215° claimed that Hayes refused to allow him to remain at
central count to observe the election equipment being secured at the end of the
night, an activity that sa: he was legally entitled to do so as provided
for in the Texas Election Code.

1.37 I began by addressing his claim that he had not been allowed to view the
early vote tapes. I asked BE why it was that he wanted to see the tapes.
informed me that the early vote tapes contained the total number of
ballots cast at a polling location and he wanted to record those numbers so
that he could compare them with the election day totals. a claimed that
Hayes told him he could not see the tapes and refused to provide them to him.
I informed IJ that I had listened to the recorded interview conducted by
Sgt. Robert Murphy of the Guadalupe County Sheriff's Office and that no time
during the interview did he [J mention that he had requested to view the
early vote-tapes on 02/25/2022. I asked Jif there was a reason why he did
not mention the request during his interview. [RMMJdid not have an answer for
my question and stated that he would have to refer to his notes to refresh his
memory .

1.389 also alleged that Hayes refused to allow him to remain at the location
to observe the election equipment being brought back to Central Count from the
other early voting polling sites. JEBBNJstated Hayes approached him three times
to ask if he was going to be leaving Central Count at 7 PM. EH = 2ic the
first time Hayes approached him he told her he intended to stay until all the
equipment had been delivered from the other polling locations within the
county. said the second time she approached him, Hayes brought over a
copy of the election code and informed him that he was entitled to remain there
through the end of early voting, but he had to leave afterwards. aa said he
responded by informing her that he was entitled to remain at the location until
all the voting equipment came in and was properly stowed away in the new cages.
GM stated that Hayes approached him a third time and told him he had to
leave. He said that instead of arguing with her, he documented what happened
and left. I asked J if there were any witnesses to their conversations.
said there was election staff present, but they appeared to be
precccupied with their duties at the time.

1.39 J was able to locate his notes for 02/25/2022, and provided me with

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if it was ok for her to release it. Sgt. Koehler said that Lisa returned and
told him (Sgt. Koehler) that she was advised that she was not required to
release the information to ae 2: Was upset that he was not getting
the information. Sgt. Koehler said there was an unidentified male subject
standing next to when he was speaking to Hayes. Sgt. Koehler stated that

remained at the location for some time after his conversation with Hayes,
but he did not notice at what time left. I asked Sgt. Koehler if Hayes
or any other election official ever asked JJ to leave the site. sgt.
Koehler informed me that at no time did he ever witness anyone ask or instruct
MM to leave the building. Sgt. Koehler also added that at the beginning of
his shift, Lisa Hayes specifically told him that ]jjand two other
unidentified individuals were authorized to observe any election activity
taking place in the building.

1.32 On 08/15/2022, I telephone a to schedule a meeting with him to
discuss his complaint. informed me that he would have to check his

schedule to see when he would be available to meet. On 08/16/2022, I received
an email from stating that he would be available to meet on 08/19/2022,
2022, at 11 AM, at his office in]——Jlocated at

7 I later confirmed the meeting and requeste a e bring copies of
1s po watcher certificates of appointment with him.

1.33 On 08/19/2022, Sgt. Luis Delgado and I met Jat his office in . rt
informed that I would be using a digital recorder to record the interview
and the recording would be held as evidence (EXHIBIT 16).

1.34 I began the recording at approximately 10:57 AM. I began the interview by
informing a: were there to discuss the complaint he filed with the .-
Guadalupe County Sheriff's Office. [Rj stated that the reason he filed the
complaint was to report that he had been obstructed while poll watching during
the March 1, 2022, Guadalupe County [Primary] Election. [EJ informed me that
during the early voting period, he spent several days poll watching at the
Guadalupe County Central Count location at 215 S. Milam St in Sequin. He said
that during that time, he observed several irregularities with the election
process. [BRB pointed out that he observed a "cut" seal on a piece of
election equipment. He also stated that 5 out of 35 USB drives that he
observed being returned to central count did not have serial numbers on then.
In addition, BBM stated he observed 3 clear plastic bags containing seals
and USB drives that were returned to central count unlocked. Jjalso
mentioned that he served during the early voting ballot board and had concerns
regarding the disposition of some of the early voting ballots that had to be
reproduced because the ballot tabulator would not accept them. [J informed
me that he had taken several pages of notes documenting these issues and other
activities that took place during the election process.

1.35 After listening to the irregularities that BE mentioned, I informed him
that the Texas Attorney General's Office only investigated criminal offenses,
such as the allegation that he was obstructed as a poll watcher. I went on to
explain to him that the issues he addressed, even though they might have
presented a hint of impropriety, were not criminal in nature and therefore

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1.28 On 08/08/2022, I telephoned the complainant in the investigation, a

to_inform him that I had been assigned to investigate his complaint. I
advised a that I would he scheduling an in-person interview with him in the
near future to discuss the matter with hin.

1.29 08/09/2022, I met with Sgt. Russell Koehler at his residence in yy to
discuss his involvement in the March 1, 2022, Guadalupe County Primary
Election. I used my digital recorder to record the conversation and a copy of
the recording was retained as evidence (EXHIBIT 15). The interview began at
4:13 PM and concluded at 4:30 PM. Only Sgt. Koehler and I were present during
the interview.

1.30 During the interview, I informed Sgt. Koehler that I was investigating a
complaint filed by a poll watcher naned TT «who claimed that on
03/08/2022, Guadalupe County Election Administrator Lisa Hayes, obstructed him
from performing his duties by refusing to allow him to view the early voting
tapes. I explained to Sgt. Koehler that I had listened to a recorded interview
between Sgt. Robert Murphy and Jj where BE mentioned that he (Sgt.

Koehler) was present at the location when the incident occurred. Sgt. Koehler
confirmed that he had been assigned to provide security at Guadalupe County
Central Count on 03/08/2022 and acknowledged that Was present.

1.31 I informed Sgt. Koehler that I had reviewed a copy of the supplement report
dated 03/09/2022 where he stated he was present at the Guadalupe County
Election Office at 215 S. Milam in Seguin to provide security for the ballot
boxes containing voted ballots. I pointed out to Sgt. Koehler that in his
report, he stated, "While at the location, I observed no unauthorized tampering
with the containers containing the ballots, no restrictions applied to persons
who Were authorized to be at the location, nor had any disturbances of the
peace taken place in my presence or view" (See EXHIBIT 2). I also pointed out
that his report also indicated that he was wearing a body worn camera, but the
camera was not activated at the time. Sgt. Koehler confirmed that he was
wearing his body worn camera at the time, but stated that as per GCSO policy,
he was not required to activate it while working security unless he was
involved in a situation where he had to take direct law enforcement action. I
told Sgt. Koehler that by his statement I inferred that nothing cut of the
ordinary had taken place. Sgt. Koehler stated that I was correct as it related
to what took place inside the counting room. Sgt. Koehler then went on to tell
me that he was standing inside a room where the counting machine was located.
Sgt. Koehler said he was standing by the door and could see into an open room
adjacent to him. Sgt. Koehler then mentioned that he had a casual conversation
with a male subject, later identified as a. who was observing what
was taking place inside the counting room. He said the subject left then room
and then flagged down Lisa [Hayes] and began speaking to her. Sgt. Koehler
stated that he could not hear what they were saying, but it appeared to him
that their conversation did not appear to be friendly. Sgt. Koehler said he
observed JJ point to papers on a clip board and begin tapping on them. He
said shortly thereafter, Lisa walked back into the room at which time he asked
her if everything was ok. Sgt. Koehler stated that Lisa told him [was
asking for information that she did not think she could release and was going
to call "the state" to Find suk

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place. Second, BE = eported that on 03/08/2022, while working as a poll
watcher at Central Count, he presented Hayes with a written request to inspect
the early vote tapes (See EXHIBIT 7). [ERBBBM) stated that Hayes refused to
produce the tapes for him and told him that the activity he was requesting to
see [early voting tapes] was not taking place at that time. ME caic Hayes
told him that he would need to submit an Open Records Request to view the
tapes. Later in the conversation, mentioned that the early vote tapes had
been printed last Tuesday, which I later verified to be Tuesday, March lst -
election day. a also mentioned that Guadalupe County $.O0. Sgt. Russell
Koehler was present when his conversation with Hayes took place. I later
reviewed Sgt. Koehler's supplement report he submitted on the incident (See
EXHIBIT 3). In his report, Sgt. Koehler wrote, "While at the location, I
observed no unauthorized tampering with the containers containing the ballots,
no restrictions applied to persons who were authorized to be at the location,
nor had any disturbances of the peace taken place in my presence or view."

1.24 In addition to his claim that he was obstructed, BEREE rointed out that he
believed there were issues with the security of the tabulation equipment, the
security of the devices used to transfer ballot results, and the signature
verification procedures used by the early voting ballot board.

1.25 During the interview, Sgt. Murphy informed JJ that the sheriff's office
did not investigate allegations of election fraud and he would be referring his
complaint to the Texas Attorney General's Office. Sgt. Murphy made JJ aware
that in addition to the Attorney General's Office, the Federal Bureau of
Investigation (FBI) and the Texas Ranger's Public Integrity Unit also
investigated offenses involving government officials. Sgt. Murphy told
another option would be for him to contact one of those agencies for
assistance. [Rftold sgt. Murphy that he had no interest in speaking to the
FBI, but did not mention whether or net he would be contacting the Texas
Rangers.

1.26 Later that day, I contacted Texas Ranger Raymond Benoist, DPS Seguin, to
inquiry if had contacted him to report the allegation. Ranger
Benoist informed me that the Guadalupe County Sheriff's Office had made him
aware of the incident, but as of this date [had not contacted him. Ranger
Benoist confirmed that the Ranger Service was not investigating the incident.

1.27 On 08/05/2022, I emailed Sgt. Russell Keehler and informed him that I was
investigating an allegation that a poll watcher was obstructed during the March
1, 2022, Guadalupe County Primary Election. I informed Sgt. Koehler that I had
received information that he was present when the incident occurred and
requested that he contact me to discuss the incident. Sqt. Koehler contacted
me by phone later that day. During our conversation, I informed Sgt. Koehler
that an individual by the name of claimed that Guadalupe County
Election Administrator Lisa Hayes obstructed him from performing his duties as
a poll watcher while at Central Count on 03/08/2022. I told Sgt. Koehler that
I had received a copy of his supplement report on the incident, and I wanted
the opportunity to speak to him on the matter. Sgt. Koehler agreed to meet
with me at this residence in i on 08/09/2022 to discuss his involvement.

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forwarded to the Texas Attorney General's Office by the Guadalupe County
Sheriff's Office regarding an allegation that she obstructed a poll watcher
during the March 1, 2022, Guadalupe County Primary Election. I informed Hayes
that I would be emailing her a request to preserve the election records for the
March 1, 2022, Primary Election and that I would contact her at a later time to
schedule an in-person interview. Hayes advised me that she would me more than
willing to cooperate with the investigation and would provide me with any
documents needed.

1.18 At approximately 1:57 PM, I emailed Hayes a copy of the request to preserve
the election records (EXHIBIT 13). .

1.19 On 07/26/2022, I emailed Lt. Tarianna Skrzycki with the Guadalupe County
Sheriff's Office Criminal Investigation Division and requested a copy of the
recorded interview with a On this same day, I tried contacting
Deputy Koehler in order to set up interview to discuss his duties while
assigned as ballot box security at Central Count during the March 1, 2022,
Primary Election.

1.20 On 07/27/2022, I received an email from Lt. Skrzycki confirming that she
received my request and that she would make a copy of a interview
available to me. Lt. Skrzycki stated that she would let me know when the copy
was ready to be picked up.

1.21 On 08/01/2022, Lt. Skrzycki notified me the copy was ready to be picked up
and she would be leaving it with the receptionist at the sheriff's office.

1.22 on 08/03/2022, I picked up the copy of the recording from the sheriff's
office. The recording was held as evidence and listed as EXHIBIT 14.

1.23 On 08/04/2022, I reviewed the recording of Sgt. Robert Murphy's interview
with a. A brief synopsis of the interview is listed below:

During his interview, MM alleged that Guadalupe County Election Administrator
Lisa Hayes obstructed him from performing his duties as a poll watcher on two
separate occasions. [RBBBB—Jsaid the first incident occurred on the evening of
the last day of early voting, 02/25/2022. Jjindicated that he arrived at
Central Count with the intention of remaining there until all election
activities were complete and the voting equipment had been secured.

explained to Sgt. Murphy that as a poll watcher, he was entitled to remain at a
polling location after it closed, typically at 7:00 PM, and stay to watch the
machines being placed into cage where they are to be locked and secured.
mentioned that this is a requirement of Senate Bill 1. stated that when
he arrived, Hayes asked him if he was leaving at 7 PM. a: :: he told
Hayes that he was going to be there until everything was done. a claimed
that Hayes approached him two other times to ask him if he was leaving at 7.

He said that at approximately 7:40 PM, Hayes approached him a third time and
told him he had to leave. 7 admitted that everything in the main votin
room had been secured, but the equipment had not been moved to the cage. a
told Sgt. Murphy that he did not argue with Hayes and simply documented what

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location at which the watcher serving". In addition, I had personal knowledge

that early voting for the March 1, 2022, Guadalupe County Primary Elections
took place between 02/14/2022, and 02/25/2022, so therefore early voting
activities were no longer taking place on 03/08/2022.

1.09 EXHIBIT 6 was one (1) page of handwritten notes that, as per Sgt. Murphy's
report, belonged to a. The last paragraph on the page references a :
claim that Lisa Hayes would not provide him with the E.V. (early voting) tape.

1.10 EXHIBIT 7 is a form titled "Written Request for Inspection of Election

Records and Copies of Audit Logs. "Appendix 1" is written on the form. The
form is dated 03/08/2022 and is addressed_to the Presiding Judge of Central
Counting Station in Guadalupe County by » The presiding judge's

name is not noted on the form. In section "B" of the form, J circled
subsection 3 where he requested to inspect the early voting tape. a signed
the form, but the form was not signed by the presiding judge.

1.11 EXHIBIT 8 is 2 copy of two (2) emails be tween [in
aa and Christina Adkins (Texas Secretary of State Office
e a :29 PM and 1:46 PM titled: Guadalupe County - Central

County - 2 issues. In his email, J) informed Adkins that

experienced two (2) issues at Central Count.

1.12 EXHIBIT 9 is a copy from to Christina dated 03/08/2022, at
7:47 AM titled: Tuesday's activities. "Appendix 3" is written on the
document. In his email, informed Adkins that he was going to be a
"watcher" today and asked for clarification regarding the type of activities
that were to taking place, Central Count or Barly Voting Ballot Board.

1.13 EXHIBIT 10 is an email from ee to Christina Adkins dated
03/08/2022 at 3:35 PM titled: Escalating to complaint. "Appendix 4" is
written on the document. In his email, JRR)informed Adkins that Lisa Hayes
did not allow him to inspect the early vote tape.

1.14 EXHIBIT 11 is an email from Charles Pinney to dated

03/08/2022, at 1:38 PM titled: Re; Poll Watcher , es Response) .
"Appendix 5" is written on the document. In his email, Pinney provided J ‘
with information for individuals serving as poll watchers and on some of the

procedures used during the election process. Pinney does not address any of
the topics in EXHIBITS 7 - 10.

1.15 EXHIBIT 12 is a copy of Texas Election Code, Section 33.056 Observing
Activity General, and Section 33.061 Unlawfully Obstructing Watcher.
"Appendix" is written on the document, but no number designation is listed.

1.16 After reviewing the documents provided by the sheriff's office, I noticed
that a document designated as Appendix 2 was not included.

1,17 That afternoon, I contacted Guadalupe County Election Administrator Lisa
Hayes to inform her that I was conducting an investigation into a complaint

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records request to get them. I noted that Sgt. Murphy occasionally mentioned
an individual by the name of Lisa Adams in his report. I believe Sgt. Murphy
was referring to Guadalupe County Election Administrator Lisa Hayes, not Lisa
Adams. I also found that dates and locations were not included in the report,
INMaAking it difficult for me to understand when and where events took place.

1.04 Sgt. Murphy wrote, that in addition to his allegation of being obstructed,
BM believed there were irregularities with the security of the USB drives
used at the polling locations along with "broken tabs". Sgt. Murphy did not
provide an explanation as to what he was referring to.

1.05 I then reviewed the supplement report by Sgt. Koehler (refer to EXHIBIT 3).
Sgt. Koehler wrote that on 03/09/2022, he was assigned to provide security for
the ballot boxes at the Guadalupe County Election Office located at 215 §.
Milam in Seguin. Sgt. Koehler stated that during his time there, he did not
observe any unauthorized tampering of the ballot boxes, any restrictions placed
en persons at the location, or any disturbance in his presence or view. Sgt.
Koehler also noted that his body worn camera was not activated during the time
he was there.

1.06 Included with the documents JJ provided to Sgt. Murphy was a copy of his
Texas Online Poll Watcher Training Certificate of Completion dated 02/25/2022
(refer to EXHIBIT 4).

1.07 I then reviewed a copy of a poll watcher complaint completed by BE dated
03/08/2022 (EXHIBIT 5). The complaint was addressed to Sabrina Obermeyer,
presiding judge at Central Count, and Lisa Hayes, Guadalupe County Election
Official (Administrator). In his complaint, BE indicated that he presented
Hayes with a written request to view the early voting tape (refer to EXHIBIT 7)
- ERR) claimed that Hayes told him, "I am not going to get the [tape] for you
because we are not doing that function." Jf said Hayes told him that he
would need to file a public records request to view the tape. a also
mentioned that he had a copy of the Texas Election Code with him at the time
and pointed out section 33.056(c)} to Hayes which states that a poll watcher is
permitted to inspect records produced during an election. According to a.
Hayes informed him that she had spoken to an attorney and was told that she was
net required produce the tapes for him because she was not conducting that
function at the time. i stated that he felt Hayes was wrong and believed
this was the only appropriate time remaining for him to view the tape. [Ry
mentioned that a poll watcher by the name of §MJwas present during his
conversation with Hayes.

1.08 I proceeded to review section 33.056 (c) of the Texas Election Code.
Section 33.056 of the Texas Election Code, titled "Observing Activity
Generally", addresses activities poll watcher is entitled to observe. After
reviewing subsection (c), I found that 3g misinterpreted that subsection of
the statute. In his complaint, J)indicated that subsection (c) permitted
poll watcher to inspect records produced during an election. As per the Texas
Election Code, subsection (c) of the statute states "a watcher is permitted to
inspect the returns and other records prepared by the election officers at the

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INTRODUCTION

1.0 On 06/14/2022, I, Sergeant Eli Garcia, of the Texas Attorney General's
Election Integrity Unit, was assigned case number CX1078159982. This case was
referred to the Texas Attorney General's Office by Guadalupe County Sheriff
Arnold Zwicke and involves an allegation of obstructing a poll watcher during
the March 1, 2022, Guadalupe County Primary Election. Specifically, it is
alleged that Guadalupe County Election Administrator Lisa Hayes obstructed a
poll watcher from viewing activity that by law he was legally entitled to.

INVESTIGATIVE DETAILS

1.01 On 03/15/2022, the Texas Attorney General's (TAG) Criminal Investigation
Division received a request to investigate from Guadalupe County Sheriff Arnold
Zwicke regarding an allegation that a poll watcher was obstructed from viewing
activity he was legally entitled to during the March 1, 2022, Guadalupe County
Primary Election (EXHIBIT 1).

1.02 Included with the request was a copy of Guadalupe County Sheriff£'s Office
Incident Report # 22-02803, dated 03/09/2022, by Sgt. Robert E. Murphy (EXHIBIT
2). A supplement report by Sgt. Russell Koehler was attached to Sgt. Murphy's
report (EXHIBIT 3). Sgt. Murphy identified the complainant in the
investigation as listed his address as

also provided Sgt. Murphy

with copies of the following documents:

EXHIBIT 4: Texas Online Poll Watcher Training Certificate of Completion,
02/25/2022

EXHIBIT 5: Complaint

EXHIBIT 6: Handwritten notes

EXHIBIT 7: Written Request for Inspection of Election Records and Copies of
Audit Logs - Appendix 1

EXHIBIT 8: Email from Christina Adkins co

EXHIBIT 9: Email from to Christina Adkins - Appendix 3
EXHIBIT 10: Email from to Christina Adkins - Appendix 4
EXHIBIT 11: Email from Charles Pinney to - Appendix 5

EXHIBIT 12: Texas Election Code Statutes - Appendix (no number designation)
I learned later that Sgt. Murphy had since retired from the sheriff's office.

1.03 On 07/25/2022, I reviewed the documents provided by the Guadalupe County
Sheriff's Office. I began by reviewing the incident report written by Sgt.
Murphy on 03/09/2022 (refer to EXHIBIT 2). Sgt. Murphy identified the
complainant in the matter as ee indicated that he
conducted a recorded interview with him. A copy of the recording was not
included with the documents provided by the sheriff's office. Sgt. Murphy
wrote, that while working as a poll watcher at central count Lil claimed
that Guadalupe County Election Administrator Lisa Adams obstructed him by
refusing to provide him with a copy of the "tapes". Sgt. Murphy did not
identify what "tapes" FB was referring to but added that Hayes told (MMM he

Tr.
Reviewed By Aporoved Date
Officer ID Eleazar Garcia, Lt. ERG3 John Green, Capt. YES 12/14/2022
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ms Incident #
Law Enforcement Division Names CX1078159982
Crime / Incident (Primary) Attempt | Type Seq
EC Election Code Violation L} General Report 1
Dispo “v" = Victim "RP" = Reporting Party "W" = Witness "S" = Suspect "O° = Other
Last, First, Middle (Firm if Business) Race Sex Aga HT WT Hair Eyes |Home Phone
O |MURPHY, ROBERT E Ww Mi (830) 379-4224

Address bos DL Number State | Work Phone

2617 N GUADALUPE ST 0
City, State, Zip Code SSN Local ID # State # FBI # Cell Phone

SEGUIN TX 78155 : 0

Last, First, Middle (Firm if Business) Race Sex Aga HT WT Hair Eyes | Home Phone
Address DOB DL Number State | Work Phone
City, State, Zip Code SSN Local ID # State # FBI # Call Phone

Last, First, Middle (Firm if Business) Race Sex Age HT WT Hair Eyes | Home Phone
Address DOB GL Number Stata | Work Phone
City, State, Zip Code SSN Local !D # State # FBI # Cell Phone

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Address DOB BL Number State | Work Phone
City, State, Zip Code SSN Local ID # State # FBI# Gell Phone
Officer ID : Reviewed By Approved Date

Eleazar Garcia, Lt. ERGS John Green, Capt. YES |12/14/2022

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Office 6f the Attorney General’ °° TNS ONS pade°9F °° cident. -

/ Law Enforcement Division incident #
: CX1078159982
PO Box 12548 Beat Rpt Dist) Type Seq
Austin, TX 78711 General Report 1
Crime / Incident (Primary, Secondary, Tertiary) Attempt | Occurred Date Time Day
EC Election Code Violation LJ] [onorFrom 03/08/2022 | 13:37 Tue
LC] lo 03/08/2022 | 13:40 Tue
[] | Reportea [06/14/2022 | 08:32 Tue
Location of Incident 275 S Milam St, Seguin, TX
Cross Street County
Dispo "VW" = Victim "RP" = Reporting Party "W" = Witness "S" = Suspect "CO" = Other GUADAL
Last, First, Middle {Finn if Business} Race Sex Age HT WT Hair Eyes | Home Phone
S | Hays, LISA wl F (830) 303-6363
Address DOB BL Number State Work Phone
218 S MILAM 0)
City, Stale, Zip Code SSN Loca! ID # State # FBI # Cell Phone
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RP M =

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City, State . Code SSN Local ID # State # FBI # Cell Phone

Last, First, Middle (Finn if Business) Race Sex Age HT WT Hair Eyes | Home Phone
W | poss, missy F (830) 303-6363
Address DOB DL Number State | Work Phone
215 S MILAM (830) 303-6363
City, State, Zip Code SSN Local ID # State # FBI # Cell Phone
SEGUIN TX 78155 0
Last, First, Middle (Firm if Business) Race Sex Age HT WT Hair Eyes Home Phone
Ww KOEHLER, RUSSELL W iu £830) 379-1224
Address DOB DL Number State | Work Prone
2617 N GUADALUPE 0
Cily, State, Zip Code SSN Local ID # State # FBI # Cell Phone
SEGUIN TX 78155 0

Synopsis On 03/15/2022, the Texas Attorney General's Criminal investigation Division received a request for investigation
from Guadalupe County Sheriff Arnold Zwicke. This case involves allegations of obstructing a poll watcher in the
2022 Guadalupe County Primary Election. Specifically, it is alleged that a poll watcher was obstructed from
viewing activity they were legally entitled to.

Continuation PropertyList

5 Attached LX) | attache  L_] | Property Damage $
Press Domestic Violence

t UCR 26 Release LJ Case
v Gang Related NM | Hate Crime [__] | Victim Senior Citizen [|
B Pursuit [_] | ForceUsed [| Child Abuse [_ |
L County . a
i Code GUA... Disposition CLSD
i Connecting Case #

Report Complete/Ready for Review [x] CAD/CFS Event #

Assigned To Eleazar Garcia, Lt Date 06/27/2022
Officer ID . Reviewed By Approved Date

wet Eleazar Garcia, Lt ERG3 John Green, Capt. YES 12/14/2022

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